           Case 3:24-cv-00347-AN       Document 133   Filed 05/19/24   Page 1 of 15




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                                 UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                      PORTLAND DIVISION

FEDERAL TRADE COMMISSION, STATE                 Case No.: 3:24-cv-00347-AN
OF ARIZONA, STATE OF CALIFORNIA,
DISTRICT OF COLUMBIA, STATE OF                  DEFENDANTS THE KROGER
ILLINOIS, STATE OF MARYLAND, STATE              COMPANY’S AND ALBERTSONS
OF NEVADA, STATE OF NEW MEXICO,                 COMPANIES, INC.’S MOTION TO
STATE OF OREGON, and STATE OF                   COMPEL
WYOMING,

                   Plaintiffs,                  REQUEST FOR ORAL ARGUMENT

       v.                                       EXPEDITED HEARING REQUESTED

THE KROGER COMPANY and
ALBERTSONS COMPANIES, INC.,

                   Defendants.




Page i –      DEFENDANTS THE KROGER COMPANY’S AND ALBERTSONS COMPANIES,
              INC.’S MOTION TO COMPEL
        Case 3:24-cv-00347-AN         Document 133       Filed 05/19/24    Page 2 of 15




                               I. L.R. 7-1(A) CERTIFICATION

        Pursuant to Fed. R. Civ. P. 37(a)(1) and LR 7-1(a) and the Case Management and

Scheduling Order (“CMSO”), counsel for Defendants The Kroger Company (“Kroger”) and

Albertsons Companies, Inc. (“Albertsons”) made good faith efforts through a May 14, 2024

teleconference and correspondence with Plaintiffs’ counsel to resolve the dispute and obtain the

requested discovery without court action, but have been unable to do so. Defendants’ counsel also

conferred in the same manner with Plaintiffs’ counsel regarding the request for expedited hearing.

Plaintiffs do not oppose the request for expedited hearing.

                                          II. MOTION

        Pursuant to Fed. R. Civ. P. 37, Defendants Kroger and Albertsons respectfully request that

the Court issue an order compelling Plaintiffs the Federal Trade Commission (“FTC”), the States

of Arizona, California, Illinois, Maryland, Nevada, New Mexico, Oregon, and Wyoming, and the

District of Columbia (together, the “Plaintiff States”) to fully and completely respond to

Defendants’ Interrogatory Nos. 2, 3, and 4. This motion is supported by the Memorandum of Law,

the Declaration of Luna N. Barrington (“Barrington Dec.”), and the pleadings and papers on file

in this action.




Page 1 –      DEFENDANTS THE KROGER COMPANY’S AND ALBERTSONS COMPANIES,
              INC.’S MOTION TO COMPEL
        Case 3:24-cv-00347-AN           Document 133        Filed 05/19/24      Page 3 of 15




                        III. MEMORANDUM OF LAW IN SUPPORT

        After a 15-month factual investigation, Plaintiffs filed suit against Kroger and Albertsons,

alleging that the proposed merger of Kroger and Albertsons would likely harm competition in

specific product and geographic markets in violation of the Clayton Act. To establish a Clayton

Act violation, Plaintiffs must, among other things, provide facts that support their alleged relevant

product and geographic markets. In the Complaint, Plaintiffs alleged “supermarkets” and “union

grocery labor” as the relevant product markets, alleged more than 100 loosely-defined geographic

markets, and alleged that the proposed acquisition “is presumptively illegal” in many of these

geographic markets because the merger increases Kroger’s market share and the market

concentration in these markets beyond certain thresholds, calculated by a measure called the

Herfindahl–Hirschman Index (“HHI”).          Compl. ¶¶ 56, 87.       Defining relevant markets and

calculating the HHIs for any such market requires facts about (1) the competitors included in the

market and (2) the market’s geographic boundaries. Plaintiffs must have had those facts in their

possession when they filed the Complaint in this action. Defendants accordingly propounded

interrogatories on Plaintiffs, asking that they identify the factual bases underlying their allegations,

including requesting that Plaintiffs disclose the alleged competitors and geographic boundaries

that they allude to in the Complaint. Plaintiffs refused to provide these core facts.

        The contours of the relevant market will be a central disputed issue at the hearing and

Plaintiffs’ refusal to provide Defendants with basic facts supporting their alleged markets is

improper and highly prejudicial. Defendants anticipate that at the hearing, Plaintiffs will present

an antiquated view of consumer behavior, one in which a single member of each household takes

a weekly shopping trip to a local grocery store to buy all their family’s groceries for the week.

Defendants expect Plaintiffs will ignore how the expansion of dynamic competitors like Costco,


Page 2 –      DEFENDANTS THE KROGER COMPANY’S AND ALBERTSONS COMPANIES,
              INC.’S MOTION TO COMPEL
        Case 3:24-cv-00347-AN         Document 133       Filed 05/19/24     Page 4 of 15




Amazon, and Aldi; online shopping; and behavioral shifts due to the COVID-19 pandemic have

fundamentally changed how shopping occurs today. But without basic facts stating who Plaintiffs

allege is in or out of the market and how big those markets allegedly are, Defendants cannot even

understand, much less adequately defend themselves, against the allegations in the Complaint.

       Plaintiffs have no legal or equitable basis for refusing to provide this basic factual

information underlying their Complaint. Indeed, Plaintiffs were required, under Rule 11, to have

“evidentiary support” for their “factual contentions” when they made them. Fed. R. Civ. Pro.

11(b)(3). Plaintiffs have been investigating this transaction for nearly 18 months, but in response

to Defendants’ interrogatories, Plaintiffs refuse to identify the boundaries of any alleged market,

the competitors included or excluded from each market, and the market shares before and after the

merger, even though they could not have possibly calculated the HHIs referenced in their

Complaint without knowing this information. Instead, Plaintiffs claim that asking for the facts

underlying their Complaint is premature expert discovery. See, e.g., Barrington Dec., Ex. 2 at 8-

9, 11 (Pls. O&Rs). In other words, Plaintiffs refuse to provide basic information they had when

filing their Complaint until after fact discovery closes and Defendants are no longer able develop

the evidence they need to defend themselves.

       The position the FTC is taking in this case is also inconsistent with the position the FTC

took in another case this past week. In that case, the defendants moved for a more definite

statement under Rule 12(e), seeking information on the boundaries of the market alleged in the

complaint. The FTC opposed, telling the court the “proper way” to obtain this information is to

“propound [an] interrogatory” asking for a “list of competitors.” See Barrington Dec., Ex. 3 at

27:11–17 (Hearing Tr., FTC v. Tapestry Inc., No. 24-cv-3109, at 27:11–17 (S.D.N.Y. May 13,

2024)). Defendants did just that here, yet the FTC has done an about-face and refused to provide


Page 3 –     DEFENDANTS THE KROGER COMPANY’S AND ALBERTSONS COMPANIES,
             INC.’S MOTION TO COMPEL
        Case 3:24-cv-00347-AN         Document 133        Filed 05/19/24     Page 5 of 15




this information at all. Plaintiffs’ position is contrary to both law and practice, and appears

designed to prejudice Defendants by running out the clock on fact discovery.

A.     BACKGROUND

       This case arises out of Kroger’s proposed acquisition of Albertsons, which the parties

entered into in order to keep pace with an expanding set of competitors, increase operating

efficiency, and lower prices for consumers. Since this transaction was announced on October 14,

2022, Defendants have provided the FTC with millions of documents and large amounts of data,

and the FTC has questioned many of Defendants’ executive-level employees in formal

investigational hearings. During that same period, the FTC also had the opportunity to (and did)

compel many third parties to provide additional documents and testimony related to the transaction

to which Defendants were not privy.

       Plaintiffs filed their Complaint in this Court on February 26, 2024 seeking to enjoin

Defendants’ transaction because the transaction purportedly may substantially lessen competition

in the alleged product markets for “supermarkets” and “union grocery labor” in a number of local

geographic markets. Plaintiffs specifically alleged that the transaction would “increase[] the HHI

by more than 100 points” and that “Defendants’ combined market shares [would] exceed 30

percent” or “the post-merger HHI [would] exceed[] 1800” in over 100 local markets. See, e.g.,

Compl. ¶¶ 56, 87. Absent, however, are any allegations setting out the underlying facts for these

allegations that the Plaintiffs relied upon when filing their Complaint, including the bounds of the

alleged markets, the companies Plaintiffs have included or excluded from their alleged markets

and those companies’ respective market shares.

       This absence is particularly noteworthy given that Plaintiffs appear to have defined their

product market narrowly to exclude key competitors such as Whole Foods, Costco, Lidl, and


Page 4 –     DEFENDANTS THE KROGER COMPANY’S AND ALBERTSONS COMPANIES,
             INC.’S MOTION TO COMPEL
        Case 3:24-cv-00347-AN          Document 133       Filed 05/19/24     Page 6 of 15




Amazon. See Compl. ¶ 48. And it is entirely unclear from the Complaint whether other key

competitors—including Trader Joe’s, “ethnic” supermarkets (e.g., Cardenas), Smart & Final,

Amazon Fresh—are in or out of Plaintiffs’ alleged markets.

       Nor have Plaintiffs provided any facts defining their geographic markets. Plaintiffs allege

that there are “[l]ocalized markets around Defendants’ stores,” id. ¶ 52, vaguely defined as a

“radius of several miles around each store,” which “may vary somewhat due to local conditions,”

id. ¶ 51. Defendants are asked to guess whether geographic markets spanning “several miles”

means 2 miles, 3 miles, 4 miles, 5 miles, or something else. Indeed, it is unclear whether Plaintiffs

will insist on the outdated view of grocery customers who shop only at their local grocery market,

or whether their Complaint instead considers the modern reality: that consumers today have

numerous in-person and online options for their grocery shopping, may be willing to travel further

distances for some stores (like Costco) than others, and may do much of their grocery shopping

through e-commerce platforms or grocery delivery services.

       Finally, Plaintiffs’ labor market definition is even more implausible, relying on the notion

that there exists a specialized market for union grocery labor, even though the Defendants in reality

are small players in the overall labor market and compete for workers with other firms both inside

and outside the grocery industry.

       To resolve these uncertainties about Plaintiffs’ proposed market definition, on April 26,

2024, Defendants jointly served three interrogatories on Plaintiffs seeking the factual bases for

their market-related allegations:

       •       Interrogatory No. 2 seeks information about which companies are included in
               Plaintiffs’ alleged product market of “supermarkets,” requesting Plaintiffs to
               identify the companies they allege compete in the market and which companies
               they excluded despite their retail sale of food and other grocery products.



Page 5 –     DEFENDANTS THE KROGER COMPANY’S AND ALBERTSONS COMPANIES,
             INC.’S MOTION TO COMPEL
        Case 3:24-cv-00347-AN         Document 133        Filed 05/19/24     Page 7 of 15




       •       Interrogatory No. 3 seeks information about the contours of each geographic market
               for “supermarkets” in which Plaintiffs allege the Acquisition will have an
               anticompetitive effect, including the specific boundaries those markets, the stores
               allegedly competing in or excluded from those markets, the market shares of the
               competitors in those markets, and the concentration level in those markets before
               and after merger.

       •       Interrogatory No. 4 seeks much of the same information as Interrogatory No. 3
               regarding Plaintiffs’ alleged geographic markets for “union grocery labor.”

Barrington Dec., Ex. 1, at 9–10

       Each of these interrogatories is aimed directly at the factual basis of the allegations

Plaintiffs chose to include in their Complaint—namely, what facts Plaintiffs rely upon to allege

that the merger would increase the HHI or the combined market shares over the specific thresholds

in the alleged markets that Plaintiffs identified. Nonetheless, Plaintiffs objected to each of these

interrogatories on May 10, 2024, and refused to provide the requested information, stating that

“[t]he exact contours and constituents” of Plaintiffs’ proposed product and geographic markets are

“the subject of ongoing fact and expert discovery,” and that “Plaintiffs will provide expert opinions

and analyses in accord with the CMSO.” Barrington Dec., Ex. 2 at 8-9, 11.

       The FTC contradicted that position just one business day later, in another merger litigation

before the Southern District of New York. The defendants in that case moved the court to require

the FTC to provide a more definite statement of the FTC’s alleged product market. In response,

the FTC argued to the Court that “defendants could have, but did not, serve [a]n interrogatory that

said identify each person you have included as a competitor … in the relevant antitrust market in

your complaint. . . . [I]f defendants have propounded this interrogatory . . . they would have these

answers on Wednesday.” Barrington Dec., Ex. 3 at 21:3–14. The FTC further represented:




Page 6 –     DEFENDANTS THE KROGER COMPANY’S AND ALBERTSONS COMPANIES,
             INC.’S MOTION TO COMPEL
        Case 3:24-cv-00347-AN          Document 133        Filed 05/19/24     Page 8 of 15




       If they propound interrogatory like most defendants do asking for the information, certainly
       with the list of competitors, we’d provide that. That’s what was done in the IQVIA
       [litigation]. It was done in the Meadow litigation in the Northern [District] of California.
       I think that’s the proper way to go about doing those things. Competitors in our complaints.

Id. at 27:12–17 (emphases added).

B.     ARGUMENT

       1.      The Information Sought by Defendants Is Relevant and Discoverable

       Rule 26 provides that “[p]arties may obtain discovery regarding any nonprivileged matter

that is relevant to any party’s claim or defense, and proportional to the needs of the case,” Fed. R.

Civ. P. 26(b)(1), and Plaintiffs—as the resisting party—“carr[y] the heavy burden of showing why

discovery should be denied,” Rust-Oleum Corp. v. NIC Indus., Inc., 2020 WL 9072855, at *1 (D.

Or. May 4, 2020). There can be no question that the market-related factual information that

Defendants request is relevant and discoverable. Plaintiffs’ alleged product and geographic

markets are at the heart of this litigation. FTC v. Microsoft Corp., 681 F. Supp. 3d 1069, 1085

(N.D. Cal. 2023). In fact, “[a] threshold step in any antitrust case is to accurately define the

relevant market.” FTC v. Qualcomm Inc., 969 F.3d 974, 992 (9th Cir. 2020). Without an accurate

understanding of the relevant market, “there is no way to measure [the defendant’s] ability to lessen

or destroy competition” or to analyze the “anticompetitive effects in the market where competition

is [allegedly] being restrained.” Id. (alterations in original) (internal quotation marks omitted).

       Here, Plaintiffs included in their Complaint specific allegations regarding the impact of the

transaction on various alleged markets. But the Complaint did not include the underlying facts on

which the FTC relied to define these markets. For example, the Complaint is silent as to the

competitors included in the alleged market or the geographic bounds of any local market. The

allegations refer to a product market of “supermarkets” and claim that the proposed merger “is

presumptively illegal” in more than 100 different localized geographic markets across 19 different

Page 7 –     DEFENDANTS THE KROGER COMPANY’S AND ALBERTSONS COMPANIES,
             INC.’S MOTION TO COMPEL
        Case 3:24-cv-00347-AN          Document 133        Filed 05/19/24     Page 9 of 15




states. Compl. ¶¶ 52, 56. To support this allegation, Plaintiffs claimed that the “proposed

acquisition is presumed likely to create or enhance market power—and is presumptively illegal—

in each of these local geographic markets because the merger increases the HHI [(a measure of

market concentration)] by more than 100 points and (i) Defendants’ combined market shares

exceed 30 percent or (ii) the post-merger HHI exceeds 1800.” Compl. ¶ 56. Likewise, with respect

to labor markets, Plaintiffs alleged that (1) “the combined firm will enjoy a market share of over

30 percent and the merger increases the HHI of the market by more than 100 points” in “many

local CBA areas,” (2) that “the Defendants have a combined share of union grocery labor

exceeding 65% in [the included non-exhaustive list of] local CBA areas,” and (3) that “the

proposed acquisition would be a merger to monopsony in approximately half of the [listed] local

CBA areas.” Id. ¶ 87.

       The facts underlying each of these allegations go directly to the market definition issues

central to this case—namely, how the relevant markets are to be defined and which firms compete

in those markets. The factual predicates for specific allegations Plaintiffs chose to include in their

complaints are the proper subject of interrogatories, not privileged work-product. See, e.g., Moore

v. Dollar Tree Stores, Inc., 2014 WL 2039995, at *5 (E.D. Cal. May 16, 2014) (citing cases for

the proposition that “[t]he plain language of Rule 26 limits the scope of the attorney work product

doctrine to documents and tangible things, not the underlying facts”); Barrington Dec., Ex. 3 at

21:3–14, 27:12–17.

       2.      Defendants’ Interrogatories Do Not Seek Premature Expert Discovery

       Plaintiffs’ position that “[t]he exact contours and constituents of the ‘supermarket’ market”

and “the relevant geographic markets in this action” constitute expert discovery is meritless.

Barrington Dec., Ex. 2 at 8-9. Plaintiffs undeniably based their allegations about the market


Page 8 –     DEFENDANTS THE KROGER COMPANY’S AND ALBERTSONS COMPANIES,
             INC.’S MOTION TO COMPEL
       Case 3:24-cv-00347-AN           Document 133        Filed 05/19/24     Page 10 of 15




concentration and market share in their alleged markets on information in their possession at the

time they filed their Complaint—including the very contours and constituents in the “supermarket”

market and the geographic markets they identified. The factual bases for these allegations—which

Plaintiffs possessed before this lawsuit even began—do not constitute expert discovery.

       Plaintiffs could not have included these allegations in their Complaint unless they had

already analyzed the relevant product and geographic markets and the effect the transaction would

have in each of these purportedly relevant markets. This would have required identifying the

bounds of each alleged geographic market, the companies included in the market, the market shares

of these companies, and the HHI or market concentration of each market before and after the

transaction. Under Federal Rule of Civil Procedure 11(b)(3), Plaintiffs could only have included

these “factual contentions [if they] ha[d] evidentiary support” when they filed their Complaint.

The factual basis supporting Plaintiffs’ allegations is precisely what Defendants seek in

Interrogatory Nos. 2, 3, and 4. See E.E.O.C v. Bank of Am., 2014 WL 7240134, at *4 (D. Nev.

Dec. 18, 2014) (“If facts support a complaint's allegations they are discoverable as a matter of law,

. . . the failure to produce those facts in response to a proper discovery request is sanctionable.”).

       Plaintiffs’ decision to conduct additional fact and expert discovery related to market

definition in this litigation does not transform the discoverable facts underlying the allegations in

their Complaint into “premature expert discovery.” As Defendants explained on the Parties’

May 14, 2024, meet and confer, Defendants’ interrogatories seek only the factual bases for the

specific allegations that Plaintiffs included in the Complaint about the purported relevant

geographic and product markets. 1 The fact that Plaintiffs’ experts may opine on market definition


       1
         Plaintiffs also object to these interrogatories under Local Rule 33-1(d), but Defendants
seek highly specific information about the factual bases for Plaintiffs’ alleged markets. These are
not “[b]road general interrogatories” that seek “all facts” underlying Plaintiffs’ claims. Id.
Page 9 –     DEFENDANTS THE KROGER COMPANY’S AND ALBERTSONS COMPANIES,
             INC.’S MOTION TO COMPEL
         Case 3:24-cv-00347-AN         Document 133        Filed 05/19/24      Page 11 of 15




does not allow Plaintiffs to withhold information they relied on in the Complaint. “It may be that

a party’s experts will rely on facts to support the party’s contentions, but it is not a valid objection

to claim that interrogatories asking about facts and contentions constitute ‘premature’ expert

discovery.” FTC v. Meta Platforms, Inc., No. 20-3590, 2023 WL 3092651, at *2 (D.D.C. Apr. 26,

2023).

         Notably, in the FTC’s contemporaneous merger litigation against Tapestry, the FTC is

taking the opposite position it is taking here and has expressly conceded that the boundaries of a

market are a proper subject for interrogatories. On May 13, 2024, the FTC represented to that

court that an interrogatory requiring the FTC to “identify each person you have included as a

competitor … in the relevant antitrust market” would be an appropriate vehicle for discovery.

Barrington Dec., Ex. 3 at 21:3–7. The FTC further explained that “we’d provide that” and “that’s

the proper way to go about doing these things.” Id. 27:11–17. Yet the interrogatory the FTC stated

would have been appropriate in Tapestry—requiring a list of the competitors identified by the

FTC—is nearly identical to Defendant’s Interrogatory 2, which asked the FTC to “[id]entify all

companies (and their specific banners or store types) that You allege to be in the market for

‘supermarkets’ … and all companies (and their specific banners or store types) who engage in the

retail sale of food and other grocery products You nonetheless exclude from that market.”

Barrington Dec., Ex. 1, at 9. In response to this interrogatory, the FTC has refused to provide this

information, stating that “[t]he exact contours and constituents of the ‘supermarket’ market are the

subject of ongoing fact and expert discovery.” Barrington Dec., Ex. 2 at 8. This is not a defensible

position, as the FTC recognized in Tapestry.




Page 10 –     DEFENDANTS THE KROGER COMPANY’S AND ALBERTSONS COMPANIES,
              INC.’S MOTION TO COMPEL
       Case 3:24-cv-00347-AN           Document 133        Filed 05/19/24      Page 12 of 15




        3.      Plaintiffs’ Failure to Provide the Factual Basis for the Alleged Markets is
                Highly Prejudicial

        Plaintiffs’ unjustified refusal to disclose the factual basis for the markets alleged in their

Complaint severely limits Defendants’ ability to defend themselves. Plaintiffs’ delay undercuts

Defendants’ efforts to pursue non-party discovery and expert testimony targeted at the claims

asserted by Plaintiffs. To give just one example, Plaintiffs’ refusal to provide a list of their alleged

third-party competitors unfairly prevents Defendants from efficiently or effectively seeking

discovery from those competitors or other companies that Plaintiffs did not include in their markets

to show that those companies do, in fact, compete with Kroger and Albertsons. Because Plaintiffs

refuse to disclose the factual basis and contours of the markets they have alleged in the Complaint,

Defendants are left to guess about which evidence they need to develop to counter Plaintiffs’ claim.

        Plaintiffs’ position that they need not produce this factual information until they provide

their expert reports is a ploy to limit Defendants’ ability to develop necessary evidence. Plaintiffs

have had more than a year of investigation to fully develop their claim and facts to support it. In

contrast, Defendants have only the expedited discovery period available in this litigation. Plaintiffs

cannot continue to hide the facts underlying their allegations until after fact discovery closes.

        4.      An Expedited Hearing Is Necessary

        Defendants request an expedited hearing on this matter because fact discovery closes in

just over three weeks, and Defendants need the information sought by these interrogatories to

inform their party, third-party, and expert discovery.

                                        IV. CONCLUSION

        Defendants respectfully request that the Court order Plaintiffs to fully respond to

Interrogatories No. 2, 3, and 4 within seven calendar days pursuant to Section B.17 of the CMSO.



Page 11 –     DEFENDANTS THE KROGER COMPANY’S AND ALBERTSONS COMPANIES,
              INC.’S MOTION TO COMPEL
       Case 3:24-cv-00347-AN   Document 133   Filed 05/19/24   Page 13 of 15




       DATED: May 19, 2024

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Page 12 –   DEFENDANTS THE KROGER COMPANY’S AND ALBERTSONS COMPANIES,
            INC.’S MOTION TO COMPEL
       Case 3:24-cv-00347-AN          Document 133   Filed 05/19/24   Page 14 of 15




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Page 13 –   DEFENDANTS THE KROGER COMPANY’S AND ALBERTSONS COMPANIES,
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      Case 3:24-cv-00347-AN   Document 133   Filed 05/19/24   Page 15 of 15




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Page 14 –   DEFENDANTS THE KROGER COMPANY’S AND ALBERTSONS COMPANIES,
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